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                      UNITED STATES OF AMERICA,
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                               Appellee,

                                     V.


                           DONALD J. TRUMP,
                           Defendant-Appellant.

      ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF COLUMBIA




                       AMICUS CURIAE BRIEF OF
                          PAUL M. DORSEY
                       SUPPORTING APPELLANT
                           AND REVERSAL




January 2, 2024

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CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES


A. PARTIES AND AMICI CURIAE

       The parties in the district court are the United States of America and

former President Donald J. Trump. The district court denied leave to file to

approximately thirty seven proposed or possible amici curiae. Their respective

identities, with one exception (“D.A. Feliciano”), are unavailable.

       The parties before this Court are the United States of America and former

President Donald J. Trump.

       Amici Curiae before this Court:

1. Supporting Appellant Donald J. Trump - Paul M. Dorsey (with consent of both

parties).

2. Supporting Appellee United States of America -

       A. The “former officials in five republican administrations”.group:

Donald B. Ayer; John B. Bellinger, III; Barbara Comstock; John C. Danforth;

Mickey Edwards; Charles Fried; Stuart M. Gerson, Esquire; John Giraudo; Peter

D. Keisler; Edward J. Larson; J. Michael Luttig; Carter G. Phillips; Alan Charles

Raul, Attorney; Paul Rosenzweig; Nicholas Rostow; Robert B. Shanks;

Christopher Shays; Michael Shepherd; Larry Thompson; Stanley Twardy;

Christine Todd Whitman; Wendell Willkie, II; Keith E. Whittington; Richard

Bernstein (all with permission of this Court).
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       B. The “16 former prosecutors, elected officials, other government officials

and constitutional lawyers” group:

Bradford A. Berenson, Gregory A. Bower, Tom Campbell, Ty Cobb, Tome

Coleman, George T. Conway III, John J. Farmer Jr, Patrick J. Fitzgerald, William

Kristol, Philip Allen Lacovara, John McKay, Trevor Potter, Claudine Schneider,

Fern M. Smith, Olivia Troye and William F. Weld (all with consent of both

parties).

3. Supporting neither party: the honorable Edwin Meese III, former Attorney

General, Steven G. Calabresi and Gary S. Lawson (all with consent of both

parties).

4. Supporting dismissal for lack ofjurisdiction: American Oversight (with

permission of this Court).


B. RULINGS UNDER REVIEW

       The December 1, 2023, Memorandum Opinion and Order of the district

court issued by Hon. Tanya S. Chutkan, D.Ct. Doc. Nos. 171, 172, in United States

V. Trump, No. l:23-cr-00257 (TSC), - F. Supp. 3d -, 2023 WL 8359833 (D.D.C.

Dec. 1, 2023), Joint Appendix (“J.A.”) 599-646, 647.

C. RELATED CASES

      The following cases are related cases within the meaning of D.C. Circuit

Rule 28(a)(1)(C):
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• Blassingame v. Trump, Nos. 22-5069, 22-7030, 22-10?> 1 (consol.), — F.4th—,

2023 WL 8291481 (D.C. Cir. Dec. 1, 2023) (appeal involving President

Trump and the United States as amicus curiae addressing Presidential

immunity for certain related alleged conduct in the civil context).

• United States v. Trump, No. 23-3190, - F.4th -, 2023 WL 8517991 (D.C. Cir.

Dec. 8, 2023) (an interlocutory appeal in this case challenging the district court’s

entry of a restraining order as to Donald J. Trump as an unconstitutional gag order

on former President Trump’s extrajudicial statements).



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                  CORPORATE DISCLOSURE STATEMENT

Amicus curiae Paul M. Dorsey certifies that he is a natural person, and as such has

no parent corporation(s) or stock. No Disclosure Statement under Federal Rule of

Appellate Procedure 26.1 or under Circuit Rule 26.1 is necessary, as amicus is

not a corporation or similar entity.



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         STATEMENT PURSUANT TO D.C. CIRCUIT RULE 29(d)




See pages 6-7, “Certificate of Why Separate Brief is Necessary’
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                     STATEMENT OF AUTHORSHIP AND
                       FINANCIAL CONTRIBUTIONS

No counsel for any party authored this brief in whole or in part and no entity or

person, aside from the amicus, made any monetary contribution intended to fund

the preparation or submission of this brief.



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                           TABLE OF AUTHORITIES

Cases

Statutes

Other Authorities:

Randolph D. Moss, Whether a Former President May Be
     Indicted and Triedfor the Same Offenses for Which
     He was Impeached by the House and Acquitted by the
     Senate, 24 Op. O.L.C. 110 (Aug. 18, 2000)................

Jonathan Landay and Scott Malone, Violence flares in
      Washington during Trump inauguration............




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                                             GLOSSARY



 D.E.......................................................Docket Entry (entry number[s])

 J.A........................................................ Joint Appendix (page number[s])

 O.L.C.................................................. Office of Legal Counsel

 President Trump...................................Appellant Former President Donald J.
                                                   Trump

 the government.....................................Appellee United States of America




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 INTEREST OF THE AMICUS CURIAE

       The amicus is a private, natural bom citizen of the United States and

 Connecticut. He is also a citizen of Ireland. As an honorable discharged former

 member of the Connecticut National Guard, he previously took an oath to support

 and defend the Constitution of the United States against all enemies, foreign and

 domestic.

       Reflecting his experience as an average citizen and in keeping with his oath

 to support and defend the Constitution, amicus has an interest in seeing that the

 Constitution of the United States is properly interpreted so as to prevent a scenario

 of a sitting (but corrupt and despotic) President using criminal court proceedings to

 bring false accusations against a former - and possible future - President.

       All parties have consented to the filing of this amicus brief. On the morning

 of December 26, 2023 counsel for Appellant Donald Trump wrote that “[w]e

 consent to the filing of your amicus brief’ and shortly thereafter counsel for the

 United States of America wrote that “[t]he government does not oppose the filing

 of an amicus brief” Accordingly, pursuent to FRAP 29(a)(2), amicus curiae Paul

M. Doxs,Qy,pro-se is authorized to file this amicus brief (“[a]ny other amicus

curiae may file a brief... if the brief states that all parties have consented to its

filing ... ”).
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 INTRODUCTION

        This brief is filed for two reasons. First, to expand on a point - an historical

 observation, actually - that was made by President Trump in his opening brief but

 not adequately elaborated upon: “Indeed, OLC acknowledged that State

 constitutions typically say if they intend an impeachment acquittal to result in

 further prosecution” (Trump Opening Br at 49).

       Second, to correct a particularly egregious historical observation made by

 the district court in its memorandum and opinion: “[George Washington’s]

 decision to voluntarily leave office after two terms marked an extraordinary

 divergence from nearly every world leader who had preceded him, ushering in the

 sacred American tradition of peacefully transitioning Presidential power—a

 tradition that stood unbroken until January 6, 2021” (J.A. at 622).


 ARGUMENT

 I. The Prosecution Is Barred by the Impeachment Judgment Clause and
    Principles of Double Jeopardy.

       This argument is made by President Trump in his opening brief (on pages

 46-54). It’s actually the last argument made in his brief. In presenting the

 argument. Trump stated that “[ijndeed, OLC acknowledged that State constitutions
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 typically say if they intend an impeachment acquittal to result in further

 prosecution” (Trump Opening Br at 49).

       The acknowledgment from the OLC was in the form of a comprehensive

 comparison of the federal Impeachment Judgment Clause with the equivalent

 clauses in state constitutions:

          “Of the forty-five state constitutions that authorize
          impeachment and limit the punishment upon conviction, all
          forty-five provide for further prosecution in the courts. In
          doing so, however, only fifteen follow the federal wording of
          “the party convicted”; thirty, by contrast, expressly provide that
          the party impeached is liable to criminal proceedings regardless
          of the outcome of the legislative trial.”
 Whether a Former President May Be Indicted and Triedfor the Same Offenses for
 Which He was Impeached by the House and Acquitted by the Senate 24 Op. O.L.C.
 110, 115 (footnotes omitted).

 The actual count quantifies the extent of just how “typical” the intention of having

 an impeachment acquittal being able to allow for further prosecution.



 II. The district court erred in claiming that “American tradition of peacefully
     transitioning Presidential power... stood unbroken until January 6,2021”

       In its memorandum of opinion, the district court made the observation that:

          “[George Washington’s] decision to voluntarily leave office
          after two terms marked an extraordinary divergence from nearly
          every world leader who had preceded him, ushering in the
          sacred American tradition of peacefully transitioning
          Presidential power—a tradition that stood unbroken until
          January 6, 2021” (J.A. at 622).
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 This observation is incorrect, since it ignores the American Civil War, which only

 started after President Lincoln was elected. The observation also ignores the

 violence that took place at President Trump’s inauguration. {See u Violence flares

 in Washington during Trump inauguration’^

 https://www.reuters.com/article/idUSKBN1550CW/ Last visited on January 2,

 2024).



 CONCLUSION:

       For the reasons stated in President’s Trump’s Opening Brief and this amicus

 brief, the district court’s Memorandum Opinion and Order, J.A. 599-647, should

 be reversed.



January 2, 2024
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               CERTIFICATE OF COMPLIANCE WITH
       TYPE-VOLUME LIMITATION, TYPEFACE REQUIREMENTS,
                AND TYPE STYLE REQUIREMENTS

 1.    Pursuant to Fed. R. App. P. 29(a)(5), this brief complies with

 the type-volume limitation of Fed. R. App. P. 32(a)(7)(B) and D.C. Cir.

 Rule 32(e)(2) because this brief contains only 731 words, excluding the

 parts of the brief exempted by Fed. R. App. P. 32(f) and D.C. Cir. R.

 32(e)(1).


 2.    This brief complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.

 32(a)(6) because the brief has been prepared in a proportionally spaced

typeface using Microsoft Office Word97 with 14-point Time New Roman font.



January 2, 2024                        Re^ectfully submitted,

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        CERTIFICATE OF WHY SEPARATE BRIEF IS NECESSARY

       This pro-se filer is aware of no other person, individual or group who

 intends to file with this Court an amicus brief supporting the appellant and

 reversal.

       Approximately 37 entities attempted in some manner to file an amicus brief

 in the District Court, but all were denied by that court. The motions and briefs of

 those filers is “unavailable” on the public docket (see J.A. 7-23). Of those, only

 one appears to be from a pro se filer, but that persons name is also “unavailable”

(see D.E. 135 on J.A. 18-19)

       Today, January 2, 2024 is the last day to file an amicus brief in support of

the appellant and reversal. Such a brief would have to be hand delivered to the

clerk’s office or postmarked today because all electronic filers had an earlier

deadline to file: Saturday, December 30, 2023 (seven days after the President filed

his opening brief on Saturday, December 23, 2023. See FRAP 29a(6) “[a]n amicus

curiae must file its brief... no later than 7 days after the principal brief of the

party being supported is filed” {italics added)).

       After review of the public docket on the afternoon of January 2, 2024, no

pro-se filer has filed a “notice of intent to file an amicus curiae brief’ pursuant to

D.C. Circuit Rule 29(b), and the guidance set forth in Section IX(A)(4) of this

Court’s Handbook of Practice and Internal Procedure.
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       Accordingly, and in light of today’s deadline, it is not practicable for the

 amicus on this brief to file a single brief with some unknown other potential

 amicus.



 January 2, 2024                        Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 2, 2024,1 mailed, via United States Postal

 Service Express Mail the above amicus brief to the clerk of the court. Said clerk

 will in turn upload a true and correct copy of the amicus brief to the court’s

 electronic filing system, which will serve by operation of the Court’s electronic

 filing system on counsel for all parties who have entered in the case.

       I also certify that I have emailed a copy of this amicus brief to all counsel of

 record.



 January 2, 2024                        Respectfully submitted,

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